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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
FLINT GROUP NORTH AMERICA,
Plaintiff, Case No.
Vv. Hon.

COLORMASTERS, LLC,

Defendant.

McDonald Hopkins PLC

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INDEX OF EXHIBITS

EXHIBIT A: Flint Group’s Account Due and Owing from
Colormasters

EXHIBIT B: Affidavit of Scott Stoy

